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                          EXHIBIT G
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  Message
  From:
  Sent:        8/28/2008 1:05:57 AM
  To:          Sundar Pichai [                   ]
  CC:                                                                   ; Kent Walker [                   ];
                                                                     ; Neal Mohan [                  ];

  Subject:     Re: IE8 Option around third party content




  Another Microsoft IE8 "feature" coming soon --

  http://www.forbes.com/2008/08/27/microsoft-google-browsers-cx vmb 0827ie.html?feed=rss news

  >>>
  Browser Wars
  Microsoft's Sneak Attack On Google
  Victoria Barret 08.27.08, 12:00 PM ET
  Forget about that $44 billion takeover bid for Yahoo. Microsoft's latest assault on Google is slier.
  Since May Microsoft has been reimbursing people up to half of the value of items they buy using its search
  technology. The gimmick isn't working. In July Google's share of all searches jumped to 60% from 53% a year
  ago, while Microsoft's share slumped to 12% from 13.6%, according to Nielsen Online.
  Now comes Chief Executive Steve Ballmer's latest would-be Google-toppling tactic (after his failed bid to take
  over Yahoo): a sneak attack using the newly launched version of Microsoft's dominant Web browser, Internet
  Explorer. Ballmer isn't portraying the updated browser as a Google destroyer, but many of its features turn out
  to be a crafty way for people to get around using the most popular search service.
  "We didn't design this with Google in mind," insists Internet Explorer head Dean Hachamovitch. He adds: "It's
  not clear what the consequences might be."
  The engineers in Redmond deserve a little more credit than Hachamovitch wants to give. The new browser
  comes with a search box in the upper right-hand corner and, just below that, a row of tiny logos for various
  search destinations, such as Yahoo, Ebay and MySpace. You can select which destinations you want to include
  here.
  If your search will likely end up in Wikipedia, for instance, with a single click over a little "W" you can search
  only that encyclopedia. Amazon.com displays items for sale. The New York Times shows snippets of stories. So
  far 27 Web sites have joined the drop-down column, including Facebook and Digg.
  Microsoft is, uncharacteristically, keeping its hands off, giving Web sites the option to serve up results and
  customize how they appear. It also magnanimously lets those sites take all the revenue from ads alongside the
  results. That's a sly stab at Google's business, though this kind of searching--where users already know where
  they want to go--doesn't yield especially lucrative ads for Google.
  Another Google-dodging feature in the new browser: Highlighting a street address on a Web page launches a
  map, with the default set to Microsoft's Live Maps (though you can change this default to Google Maps).
  Internet Explorer is the most widely used browser. This gives Microsoft a nice advantage over Google. Just as
  Microsoft used its dominance in operating systems to get its browser onto millions of computers, it now can
  rely on that browser to offer Web software. Microsoft needs that weapon as Google encroaches on its turf with
  freebie Web versions of word processors and spreadsheets.
  Best do this while the dominance lasts. Firefox's market share jumped by a third in the last year to 19%, while
  Internet Explorer lost 6 percentage points to 73%. Still, even that rival gives it a little credit for the new




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  browser. "They're playing catch-up, but I'm glad they're playing," says John Lilly, chief executive of Firefox
  publisher Mozilla.
  >>>




  On Mon, Aug 25, 2008 at 3:41 PM, Sundar Pichai <                           > wrote:
  Follow-up update on this. We met with Microsoft today and they have announced this as well. Quick exec
  summary is that while this feature blocks access to third party content (and hence may break iGoogle,
  doubleclick, adsense ads etc) , it is only when users choose to go into Inprivate Browsing. I am more concerned
  with the longer term direction they may take with this but for now the impact will be limited unless they evolve
  this more broadly. We should watch their actions here very closely.

  Sundar

  P.S More details for those interested from Caesar:

   htto://blogs.msdn.com/ie/archive/2008/08/25/ie8-and-privacy.aspx

  In a nutshell here's what this feature does
  1. While a user in browsing in the default mode, IE keeps track of third party resources (images, JS, iFrames)
  that are requested by sites the user visits. i.e. if a WSJ, NYTimes, CNN all request the same image from Flickr
  (say flickr.com/mylmg.gif) IE8 will keep a count of 3 for that particular URL.
  2. Then when the user enters the InPrivate mode (similar to Chrome's InCognito mode), resources which have a
  count greater than a certain threshold will be blocked. In the above example if the threshold was 2, IE would
  block the specific resource at flickr.com/myImg.gif) on all sites. In Beta 2 this threshold is being set at 10.

  This feature will clearly impact third party adservers like DoubleClick, products like Gadgets, Analytics, Maps
  mashups and possibly other content serving platforms like YouTube (through embedded videos). However, the
  overall impact of this is going to be limited by the number of users who explicitly choose to use the InPrivate
  mode. MS is messaging this as a user choice feature and has apparently worked with privacy organizations to
  garner support.

  On Fri, Aug 22, 2008 at 9:46 AM, Sundar Pichai <                         > wrote:
  EMG,

  FYI. We are hearing rumors that Microsoft has planned a feature in IE8 Beta 2 that will allows users to block
  third party content on sites. I called my contact at Microsoft and they have arranged for a meeting on Monday to
  describe the feature to us. Note that they are launching Beta 2 on Wednesday.

  With very little details, it is not clear whether this is a minor feature or something more significant that could
  have broader implications on the way we serve adsense ads etc. Our guess is that this option will be part of
  IE8's zone-based security model, where the more secure zones (not default and so rarely changed) may block
  support for 3rd party requests from iFrames. The adoption will depend on default settings - given the
  widespread use of iFrames to extend websites, we are skeptical that it would be enabled by default for all users.

  They have asked for our privacy counsel to be present etc for Monday's meeting and so will send an update post
  that meeting.

  Sundar




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  Sundar Pichai
  Googlelnc.

  Voice:
  Email:




  Sundar Pichai
  Googlelnc.

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  Emg mailing list




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